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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456

AVERAGE WHOLESALE PRICE

LITIGATION

THIS DOCUMENT RELATES TO re Action No. 01-CV-12257 PBS
ALL ACTIONS udge Patti B. Saris

CERTIFICATE IN SUPPORT OF APPLICATION FOR ADMISSION PRO HAC VICE

I, Daniel P. Hope, hereby certify pursuant to Local Rule 83.5.3(b) that:

1. I am an attorney admitted to practice before the State Courts of New York;

2. I am currently licensed in good standing to practice law in each jurisdiction in
which I have been admitted;

3. There are no disciplinary proceedings pending against me as a member of the bar
in any jurisdiction;

4. I am familiar with the Local Rules of the United States District Court for the
District of Massachusetts; and

5. I represent the defendant Novartis Pharmaceuticals Corporation (“Novartis”) in
this action.

Signed under the pains and penalties of perjury of the laws of the State of Massachusetts.

Dated: March 8, 2010
TA

Daniel P. Hope, Esq.

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